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Attorneys for Defendant and Third Party Plaintiff Food Services of America, Inc.

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF ALASKA

RAMIL LAURETA,

                 Plaintiff,

        v.

FOOD SERVICES OF AMERICA, INC.,

                 Defendant.


FOOD SERVICES OF AMERICA, INC.,

                 Third-Party Plaintiff,

        v.

TW SERVICES, INC.,

                 Third-Party Defendant.                          Case No. 3:18-cv-00276-SLG


         STIPULATION TO VOLUNTARILY DISMISS WITH PREJUDICE

        Pursuant to Federal Civil Rule of Procedure 41(a)(1)(A)(ii) Plaintiff Ramil

Laureta, Defendant and Third Party Plaintiff, Food Services of America, Inc., and Third

Party Defendant, TW Services, Inc., through their respective counsel, file this stipulation,

Stipulation to Voluntarily Dismiss with Prejudice
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signed by counsel for all parties to the action, to voluntarily dismiss this action in its

entirety with prejudice, including all claims that were brought or could have been brought

by Plaintiff against Defendant, and all claims that were brought or that could have been

brought by Defendant/Third Party Plaintiff against Third Party Defendant, with all parties

to bear their own costs and fees. The parties further stipulate and agree that any pending

motions are withdrawn.

DATED: July 9, 2019                                JOHNSON BEARD & TRUEB, PC
                                                   Attorneys for Plaintiff Ramil Laureta

                                                   /s/ Douglas G. Johnson
                                                   ABA No. 9511061

DATED: July 9, 2019                                DUCEY & ASSOCIATES LLC
                                                   Attorneys for Defendant and Third Party
                                                   Plaintiff Food Services of America

                                                   /s/ Cynthia L. Ducey
                                                   ABA No. 8310161

DATED: July 9, 2019                                HOLLAND & KNIGHT LLP
                                                   Attorneys for Third Party Defendant
                                                   TW Services, Inc.

                                                   /s/ Matthew Singer
                                                   ABA No. 9911072




Stipulation to Voluntarily Dismiss with Prejudice
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           CERTIFICATE OF SERVICE

I hereby certify that on July 9, 2019, a copy of the
foregoing document was served electronically on:

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4845-3801-9484, v. 1




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